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                            UNITED STATES DISTRICT
                         FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                )
                                        )
v.                                      )     Case No. 1:21-cr-00040-TNM
                                        )
DAVID MEHAFFIE,                         )
                                        )
         Defendant.                     )




                DEFENDANT'S NOTICE OF REJECTION OF PLEA.
     Pursuant to the Order in the Minute Entry for proceedings held on 12/17/2021,
      Defendant, David Mehaffie hereby gives notice that he is rejecting the plea
                        offered by the Government in this case.




                                                     /s/ John M. Pierce
        Dated: February 3, 2022
                                                     John M. Pierce
                                                     21550 Oxnard Street
                                                     3rd Floor, PMB #172
                                                     Woodland Hills, CA 91367
                                                     Tel: (213) 349-0054
                                                     jpierce@johnpiercekaw.com
                                                     Attorney for Defendant David
                                                     Mehaffie
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                          CERTIFICATE OF SERVICE

      I hereby certify that, on February 3, 2022, this motion and the

accompany declaration was filed via the Court’s electronic filing system, which

constitutes service upon all counsel of record.

                                        /s/ John M. Pierce
                                        John M. Pierce
